Case 3:21-cv-00259-DCG-JES-JVB Document 39-26 Filed 11/24/21 Page 1 of 5




                     EXHIBIT 6
  Case 3:21-cv-00259-DCG-JES-JVB Document 39-26 Filed 11/24/21 Page 2 of 5




                           UNITED STATES DISTRICT COURT
                         FOR THE WESTERN DISTRICT OF TEXAS
                                  EL PASO DIVISION

 LULAC, et al.,

                Plaintiffs,

 v.
                                                           Case No.: EP-21-CV-00259-JES-JVB
 GREG ABBOTT, in his official capacity as                              [Lead Case]
 Governor of Texas, et al.,

               Defendants.


                              DECLARATION OF MARK P. GABER

       Pursuant to 28 U.S.C. § 1746, I, Mark P. Gaber, declare that:

       1.      I am over 18 years of age and competent to testify.

       2.      I am counsel for Plaintiffs in this case.

       3.      I am also counsel for the Quesada Plaintiffs in the consolidated cases challenging

the 2011 and 2013 Texas redistricting plans, Perez v. Abbott, No. SA-11-CA-OLG (W.D. Tex.),

which is currently in the attorneys’ fees phase of litigation. I served as lead trial counsel for the

Quesada Plaintiffs in the trial regarding the 2013 plan, which occurred in the summer of 2017.

       4.      In the lead up to, and during, the 2017 Perez trial, Anna Mackin, then an attorney

in the Office of the Attorney General, was the primary counsel for Defendants with whom I

interacted on exhibit issues. For example, at 2:53 AM on July 9, 2017, Ms. Mackin emailed

Plaintiffs’ counsel transmitting Defendants’ objections to Plaintiffs’ trial exhibits. That email

included an attached spreadsheet identifying which of Plaintiffs’ exhibits Defendants objected to,

and which they lodged no objection to. The metadata for that spreadsheet identifies the author as

“Anne Marie Mackin,” notes that the spreadsheet was created on July 8, 2017, at 11:21 PM, and



                                                  1
  Case 3:21-cv-00259-DCG-JES-JVB Document 39-26 Filed 11/24/21 Page 3 of 5




was last modified on July 9, 2017, at 2:44 AM, nine minutes before it was emailed to Plaintiffs’

counsel. Attached as Exhibit A to my declaration is a true and correct copy of the email, the

spreadsheet, and a screenshot I took of the spreadsheet metadata.

       5.      Attached as Exhibit B to my declaration are true and correct copies of several

exhibits that were identified on the spreadsheet Ms. Mackin sent: Quesada-12, Quesada-15,

Quesada-16, Quesada-17, and Quesada 18.

       6.      Attached as Exhibit C to my declaration is a true and correct copy of an email Ms.

Mackin sent to Plaintiffs’ counsel at 1:09 AM on July 14, 2017, identifying the exhibits Defendants

might use at trial that morning. Attached as Exhibit D to my declaration is a true and correct copy

one of the supplemental exhibits Ms. Mackin attached to that email, an April 18, 2013 letter from

then-Attorney General Greg Abbott to the House and Senate Redistricting Committee Chairs and

members.

       7.      The trial transcripts for the 2017 Perez trial note Ms. Mackin’s appearance at trial

each day.

       8.      Attached as Exhibit E to my declaration are true and correct copies of the minutes

and transcript from a Senate Select Committee on Redistricting hearing that occurred on April 18,

2013, which were admitted as Joint Exhibits 19.2 and 19.3 in the Perez litigation.

       9.      Attached as Exhibit F to my declaration is a true and correct copy of a transcript of

the May 30, 2013 hearing of the Senate Select Committee on Redistricting, which was admitted

as Joint Exhibit 20.4 in the Perez litigation.

       10.     Attached as Exhibit G to my declaration is a true and correct copy of the Senate

Journal, Eighty-Third Legislature – First Called Session, Second Day Continued, for Friday, June

14, 2013, which was admitted as Joint Exhibit 26.2 in the Perez litigation.



                                                 2
  Case 3:21-cv-00259-DCG-JES-JVB Document 39-26 Filed 11/24/21 Page 4 of 5




        11.     Attached as Exhibit H to my declaration is a true and correct copy of the Senate

Journal, Eighty-Third Legislature – First Called Session, Third Day, for Friday, June 14, 2013,

which was admitted as Joint Exhibit 26.3 in the Perez litigation.

        12.     Attached as Exhibit I to my declaration is a true and correct copy of the Senate

Journal, Eighty-Seventh Legislature – Third Called Session, Third Day, for Monday October 4,

2021,   which     I       obtained    from    Texas   Senate’s    Senate    Journal   Online   website,

https://journals.senate.texas.gov/SJRNL/873/PDF/87S310-04-F1.PDF.

        13.     Attached as Exhibit J to my declaration is a true and correct copy of the Senate

Journal, Eighty-Seventh Legislature – Third Called Session, Fourth Day, for Monday, October 4,

2021, which I obtained from the Texas Senate’s Senate Journal Online website,

https://journals.senate.texas.gov/SJRNL/873/PDF/87S310-04-F.PDF.

        14.     Attached as Exhibit K to my declaration is a true and correct copy of the Senate

Journal, Eighty-Seventh Legislature – Third Called Session, Fourth Day Addendum, for Monday

October 4, 2021, which I obtained from the Texas Senate’s Senate Journal Online website,

https://journals.senate.texas.gov/SJRNL/873/PDF/87S310-04-FA.PDF.

        15.     Attached as Exhibit L to my declaration is a true and correct copy of the House

Journal, Eighty-Seventh Legislature – Third Called Session, Sixth Day (Continued), for Friday

October 15, 2021, which I obtained from the Texas House Journal Online website,

https://journals.house.texas.gov/HJRNL/873/PDF/87C3DAY06CSUPPLEMENT.PDF.

        16.     Attached as Exhibit M to my declaration is a true and correct copy of the House

Journal, Eighty-Seventh Legislature – Third Called Session, Seventh Day, for Friday, October 15,

2021,    which        I    obtained    from     the   Texas      House     Journal    Online   website,

https://journals.house.texas.gov/hjrnl/873/pdf/87C3DAY07FINAL.PDF#page=7.



                                                      3
  Case 3:21-cv-00259-DCG-JES-JVB Document 39-26 Filed 11/24/21 Page 5 of 5




I declare under penalty of perjury that the foregoing is true and correct.



November 23, 2021                             /s/ Mark P. Gaber
                                              Mark P. Gaber




                                                  4
